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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 IN RE:                                               )       Chapter 7
                                                      )
 NICHOLAS S. GOULETAS,                                )       No. 16-01335
                                                      )
       Debtor.                                        )       Hon. Timothy A. Barnes
 _______________________________________              )
                                                      )
 800 SOUTH WELLS COMMERCIAL LLC,                      )
                                                      )
        Plaintiff,                                    )
                                                      )
 v.                                                   )       Adv. No. 1:16 ap 141
                                                      )
 NICHOLAS S. GOULETAS,                                )
                                                      )
        Debtor/Defendant.                             )

                PLAINTIFF'S MEMORANDUM OF LAW IN SUPPORT OF
                  PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

        The undisputed summary judgment evidence shows that the Debtor, Nicholas S. Gouletas

 ("Gouletas"), deliberately concealed his assets, and transferred hundreds of thousands of dollars

 of his funds into a checking account held in the name of a close personal friend, within one year

 of his bankruptcy filing. As shown by the following, summary judgment is appropriate as to

 Count Three of Plaintiff's Adversary Complaint asserting that Gouletas should be denied a

 discharge pursuant to 11 U.S.C. §727(a)(2)(A).

                                  Summary Judgment Standards

        In a similar §727(a)(2)(A) case, the Seventh Circuit summarized the applicable summary

 judgment standards as follows:

                Summary judgment is appropriate "if the pleadings, depositions,
                answers to interrogatories, and admissions on file, together with
                the affidavits, if any, show that there is no genuine issue as to any
                material fact and that the moving party is entitled to a judgment as
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                a matter of law." Fed. R. Civ. P. 56(c). A party resisting summary
                judgment cannot succeed simply by resting on his pleadings, he
                must come forth with positive evidence in support of his position.
                See Celotex Corp. v. Catrett, 477 U.S. 317, 324, 91 L. Ed. 2d 265,
                106 S. Ct. 2548 (1986). There is no "genuine" issue of material
                fact "for trial unless there is sufficient evidence favoring the
                nonmoving party for a jury to return a verdict for that party."
                Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249, 91 L. Ed. 2d
                202, 106 S. Ct. 2505 (1986). "When the moving party has carried
                its burden under Rule 56(c) , its opponents must do more than
                simply show that there is some metaphysical doubt as to the
                material facts." Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
                475 U.S. 574, 586, 89 L. Ed. 2d 538, 106 S. Ct. 1348 (1986). In
                making this determination, all reasonable inferences must be
                drawn in favor of the nonmovant.

 In re Kontrick, 295 F.3d 724, 735-36 (7th Cir. 2002).

                                          Undisputed Facts

        The undisputed facts supporting summary judgment are set forth in Plaintiff's Statement

 of Undisputed Facts in Support of Plaintiff's Motion for Summary Judgment, which is hereby

 incorporated by reference as if set forth verbatim.

                                            ARGUMENT

        I.      The Undisputed Summary Judgment Evidence Shows That
                Gouletas Should Be Denied A Bankruptcy Discharge Under 11
                U.S.C. §727(a)(2)(A)

        Pursuant to 11 U.S.C. §727(a), a bankruptcy discharge should be denied a debtor where

                (2) the debtor, with intent to hinder, delay, or defraud a creditor . .
                ., has transferred . . . or concealed, or has permitted to be
                transferred . . . or concealed -

                        (A) property of the debtor, within one year before
                        the date of the filing of the [bankruptcy] petition . . ..

 Accordingly, for Plaintiff 800 SWC to prevail on its Complaint for denial of Gouletas'

 bankruptcy discharge under §727(a)(2)(A), 800 SWC must show that:

        (1)     The Debtor, Gouletas;


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        (2)     transferred or concealed;

        (3)     Gouletas' property;

        (4)     with the intent to hinder, delay, or defraud a creditor;

        (5)     within one year of bankruptcy (i.e., at any time from January 17,
                2015 to January 17, 2016).

 See Kontrick, 295 F.3d at 736. As summarized by the Seventh Circuit, "[t]he exception to

 discharge in §727(a)(2)(A) essentially 'consists of two components: [1] an act (i.e., a transfer or a

 concealment of property) and [2] an improper intent (i.e., a subjective intent to hinder, delay or

 defraud a creditor).'" Kontrick, 295 F.3d at 736 (quoting Rosen v. Bezner, 996 F.2d 1527, 1531

 (3d Cir. 1993)).

                A.      The Undisputed Summary Judgment Evidence Shows
                        That Gouletas Transferred And Concealed His
                        Property Within One Year Of Bankruptcy

        The undisputed summary judgment evidence shows that Gouletas transferred or

 concealed his property within the time period from January 17, 2015 to January 17, 2016, which

 was within one year of his bankruptcy filing on January 17, 2016. The property of Gouletas that

 was transferred or concealed was (1) his ownership interest in a house in Greece (S/F nos. 37-

 391); (2) his ownership of valuable items of personal property (S/F nos. 40-42); (3) his ownership

 interest in the Garvey Court Project and NKM Garvey, LLC (S/F nos. 43-47); and (4) his deposit

 of funds into two checking accounts held in the name of his close personal friend, Dorothea

 Touris ("Touris"), and his use of those accounts for his personal financial benefit (S/F nos. 48-

 65).

        In the context of a §727(a)(2)(A) action, "concealment" includes "preventing discovery,

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  "S/F no. __" refers to the numbered paragraph in Plaintiff's Statement of Undisputed Facts in
 Support of Plaintiff's Motion for Summary Judgment.

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 fraudulently transferring or withholding knowledge or information required by law to be made

 known." Marcus-Rehtmeyer v. Jacobs, 784 F.3d 430, 442 (7th Cir. 2015) (quoting In re Scott,

 172 F.3d 959, 967 (7th Cir. 1999)). In connection with the Citation proceedings initiated by 800

 SWC, Gouletas was required to disclose, and had a continuing obligation to disclose, (1) his

 ownership interest in a house in Greece; (2) his ownership of valuable items of personal

 property; (3) his ownership interest in the Garvey Court Project and NKM Garvey, LLC; and (4)

 his deposit of funds into two checking accounts held in the name of Touris and use of those

 accounts for his personal financial benefit. See Marcus-Rehtmeyer, 784 F.3d at 441-42. The

 undisputed summary judgment evidence shows that during the course of the Citation

 Proceedings, Gouletas withheld knowledge or information required by law to made known

 pertaining to the above property of Gouletas. See id. at 438-44. Accordingly, Gouletas

 "concealed" his property within the meaning of §727(a)(2)(A) by withholding knowledge or

 information about his property which was required by law to be disclosed.

        Further, the undisputed summary judgment evidence shows that Gouletas deposited his

 funds into checking accounts held in the name of his close personal friend, Touris (S/F nos. 48-

 65), which were accounts over which Gouletas had no control. (Id. no. 55) Those deposits

 constituted "transfers" of Gouletas' property in violation of §727(a)(2)(A). See Kontrick, 294

 F.3d at 737-38 ("By depositing his paycheck into an account over which he had no control, [the

 debtor] put those funds beyond the reach of his creditors . . .. * * * [The debtor] violated section

 727(a)(2)(A) by depositing his paycheck into the family account, over which he had no control").

        Here, Gouletas filed for Chapter 7 bankruptcy on January 17, 2016 (S/F no. 35), so the

 issue under §727(a)(2)(A) is whether Gouletas transferred or concealed, or permitted to be

 transferred or concealed, any of his property at any time from January 17, 2015 to the date he



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 filed for bankruptcy on January 17, 2016. See Marcus-Rehtmeyer, 784 F.3d at 441-44.

        Under Illinois law, a judgment debtor's duty to disclose assets continues throughout the

 entire time a Citation proceeding is pending. See id. at 438 & 441-44. As noted by the Seventh

 Circuit in Marcus-Rehtmeyer:

               The nature of [Illinois Citation] proceedings themselves dictate
               that [the judgment debtor] had a continuing duty to disclose her
               assets up until the time the citation was terminated [upon the
               judgment debtor's filing of bankruptcy].

                                              ***

               The obligation to disclose assets continued during the entire
               pendancy of the citation to discover assets.

 784 F.3d at 438 & 443.

        The undisputed summary judgment evidence shows that the Citation was served upon

 Gouletas on June 9, 2014, and continued in effect at all times until Gouletas filed for Chapter 7

 bankruptcy on January 17, 2016. (S/F nos. 26 & 36) Accordingly, Gouletas' duty to disclose his

 assets continued at all times from June 9, 2014 until January 17, 2016. The undisputed summary

 judgment evidence shows that Gouletas, however, concealed (that is, withheld knowledge or

 information required by law to be disclosed) (1) his ownership interest in a house in Greece (S/F

 nos. 37-39); (2) his ownership of valuable items of personal property (S/F nos. 40-42); (3) his

 ownership interest in the Garvey Court Project and NKM Garvey, LLC (S/F nos. 43-47); and (4)

 his deposit of funds into two checking accounts held in the name of Touris and use of those

 accounts for his personal financial benefit (S/F nos. 48-65), up until the time the Citation

 proceedings expired when Gouletas filed for bankruptcy on January 17, 2016. See Marcus-

 Rehtmeyer, 784 F.3d at 441-44. Therefore, the undisputed summary judgment evidence shows

 that Gouletas concealed his property within the relevant look back period set forth in



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 §727(a)(2)(A).

        In addition, the undisputed summary judgment evidence shows that from late January of

 2015 until March 17, 2015 (during the §727(a)(2)(A) look-back period), Gouletas transferred

 hundreds of thousands of dollars of his own money into checking accounts held in the name of

 Touris (S/F nos. 48-65), over which Gouletas did not have the right on his own to withdraw the

 funds. (S/F no. 55). As was the situation in Kontrick:

                  The bankruptcy court was entitled to conclude that those deposits
                  were "transfers" of [the debtor's] property, with the "intent to
                  hinder, delay or defraud a creditor" within one year of filing for
                  bankruptcy. 11 U.S.C. §727(a)(2)(A). By depositing his paycheck
                  into an account over which he had no control, [the debtor] put
                  those assets beyond the reach of his creditors . . ..

 295 F.3d at 737.

        Accordingly, the undisputed summary judgment evidence shows that Gouletas

 transferred and concealed his property within one year of the filing of bankruptcy.

                  B.     The Undisputed Summary Judgment Evidence Shows
                         That Gouletas Concealed His Property With The Intent
                         To Hinder, Delay Or Defraud 800 SWC, A Judgment
                         Creditor Of Gouletas

        Rarely will a debtor confess to concealing assets with the intent to hinder, delay or

 defraud creditors. Accordingly, and by necessity, fraudulent intent may be shown by

 circumstantial evidence. See Village of San Jose v. McWilliams, 284 F.3d 785, 791 (7th Cir.

 2002); Ruter v. Schryver (In re Schryver), 558 B.R. 856, 875 (Bankr. N.D. Ill. 2016).

        Moreover, the Seventh Circuit has ruled that

                  not caring whether some representation is true or false -- the state
                  of mind known as "reckless disregard" -- is, at least for purposes of
                  the provisions of the Bankruptcy Code governing discharge, the
                  equivalent of knowing that the representation is false and material.

 In re Chavin, 150 F.3d 726, 728 (7th Cir. 1998). Further, "a showing of reckless disregard for the


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 truth is sufficient to prove fraudulent intent." Stamat v. Neary, 635 F.3d 974, 982 (7th Cir. 2011).

 In that connection, the "cumulative effect of false statements may, when taken together, evidence

 a reckless disregard for the truth sufficient to support a finding of fraudulent intent." Id.

 (quotation marks and citation omitted).

        Here, the summary judgment evidence reveals, beyond any reasonable doubt, Gouletas'

 intent to hinder, delay or defraud 800 SWC in connection with its ongoing efforts to execute

 upon Gouletas' assets toward satisfaction of 800 SWC's judgment against Gouletas. Most telling

 is Gouletas' failure to list his ownership interest in the house in Greece in the Citation

 proceedings, and his continuing failure to disclose that asset, even though he received

 confirmation of that ownership interest from his sister by email on September 30, 2014, which

 was shortly after Gouletas filed a sworn pleading denying his ownership interest in any real

 estate. (See S/F nos. 37-39)

        In addition, it strains credulity to think that Gouletas simply forgot about his ownership

 of a Wurlitzer juke box worth approximately $10,000, and a mechanical violin (like a player

 piano, but a violin) worth between $40,000 to $70,000. (S/F no. 41) While it is understandable

 that a debtor in the position of Gouletas (see S/F nos. 8-13) may not want to part with such

 unique collectible items of personal property, his selfish desires did not trump the disclosure

 obligations imposed upon him under Illinois law. See Marcus-Rehtmeyer, 784 F.3d at 441-44.

        As far as Gouletas' ownership interest in the Garvey Court Project and NKM Garvey,

 LLC, the undisputed summary judgment evidence shows Gouletas' fraudulent intent in

 connection with that entire transaction. (See S/F nos. 40-42)

        And can there be any explanation other than fraudulent intent when Gouletas placed

 hundreds of thousands of dollars in Touris' checking accounts? (S/F nos. 48-65) Indeed, when



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 Gouletas was given the opportunity to come up with some explanation -- any explanation -- for

 doing what he did, he could provide none:

        Q:      Can you provide the Court with any explanation as to why you did it?
                                                 ***
        A:      Not that I know of.

        Q:      Can you list any possible reasons as to why you did it?
        A:      No, I don't.

 (Px L p. 4) With an $11,550,040.12 judgment against him, and a judgment creditor pursuing his

 assets pursuant to a Citation proceeding, which had enjoined Gouletas from transferring his

 assets, is there any doubt as to why Gouletas transferred hundred of thousands of dollars into a

 checking account in the name of his close personal friend, Touris, and then had Touris write

 checks from that account for the payment of Gouletas' bills?

        Gouletas' misstatements and omissions in his Citation pleadings "were at the very least a

 result of reckless disregard for the truth, and more likely out of fraudulent intent to deceive

 creditors . . .." Ruter, 558 B.R. at 872. Moreover, Gouletas' complete lack of candor and

 supposed lack of recollection on numerous subjects for which he most certainly had knowledge

 and recollection (see S/F nos. 58 & 68) "bespoke a reckless indifference to truth, and no more is

 required for fraudulent intent in bankruptcy." Skavysh v. Katsman (In re Katsman), 771 F.3d

 1048, 1050 (7th Cir. 2014).

        Based on the undisputed summary judgment evidence, "[t]here can be no other

 conclusion than that [the debtor] concealed [the debtor's assets] with an intent to hinder, delay or

 defraud [the judgment creditor]." Marcus-Rehtmeyer, 784 F.3d at 443. And the same is true here.




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        II.     The Undisputed Summary Judgment Shows That There Is No
                Evidence To Support Gouletas' Affirmative Defenses Of Lack
                Of Standing And Unclean Hands

        In Gouletas' Answer filed herein, Gouletas asserted two affirmative defenses pertaining

 to Count Three. In his First Affirmative Defense, Gouletas asserted that "Plaintiff lacks standing

 to pursue its claim." (Ans. p. 14 ¶1) And in his Third Affirmative Defense, Gouletas asserted that

 "Plaintiff's claims are barred by the equitable doctrine of unclean hands." (Id. p. 15 ¶3) Both

 affirmative defenses are without merit, and lack any evidentiary support.

        There is no evidence to support Gouletas' affirmative defense of Plaintiff's supposed lack

 of standing. (S/F no.71) In his "standing" affirmative defense, Gouletas argued that "[t]he duly

 appointed manager of [800 SWC] has not authorized this action." (Ans. p. 14 ¶1) Gouletas

 testified, however, that he has "no idea" whether Plaintiff has the authority to proceed with this

 suit, and has "no idea" of any facts to support any claim that Plaintiff did not have the authority

 to proceed with this suit. (Px J p. 68)

        DJV became the manager of 800 SWC on November 16, 2006 pursuant to the terms of a

 Collateral Pledge and Security Agreement (Px 32-A) (the "Pledge Agreement") executed by (1)

 the "Borrower", 800 SWC, and (2) the "Pledgors", River City Investors ("RCI") and Gouletas, as

 the sole members of 800 SWC, in favor of the "Lender", CIB Bank, which was succeeded by

 DJV. (Id. p. 1) As admitted by Gouletas, "[o]n or about November 16, 2006, pursuant to a

 [Pledge Agreement] delivered to CIB Bank, and later assumed by [DJV] . . ., [DJV] took over

 control of the voting rights of [800 SWC], and removed Gouletas as the manager of [800 SWC]."

 (Px B p. 19 ¶3) Indeed, Gouletas admitted that "[DJV] took control of [800 SWC] . . . pursuant

 to [the Pledge Agreement], which allowed [DJV] to do so once an event of default occurred."

 (Id. p. 20 ¶11 (emphasis added))



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        Further, pursuant to the Pledge Agreement, RCI and Gouletas agreed that, upon default

 by 800 SWC in repayment of the full amount of financial obligations owed by 800 SWC, CIB

 (now DJV) could serve as the manager of 800 SWC unless and until the full amount of the

 financial obligations owed by 800 SWC to DJV was paid in full. (Px 32-A ¶¶1.1, 4.1, 4.8, 4.12 &

 6.1) It is undisputed that, to date, the full amount of the financial obligations owed by 800 SWC

 to DJV has not been paid in full. (Px L ¶73)

        In addition, Gouletas and the other previous member of 800 SWC, RCI, previously

 contested the ability of DJV to serve as the manager of 800 SWC. (S/F no. 74) As concluded by

 Bankruptcy Judge Jacquelyn P. Cox in her Order denying Gouletas' prior Motion on the

 authority of DJV to continue as manager of 800 SWC:

                The argument [by RCI and Gouletas] that [DJV] has not acquired
                all of the manager-member power is without basis. Paragraph 1.1
                of the Pledge Agreement [Px 32-A] states "Pledgor [i.e., Gouletas
                and RCI] assigns, pledges and grants to Lender [DJV] a security
                interest in and lien upon all of Pledgor's right, title and interest in
                and to Pledgor's interest in Borrower [800 SWC] (including
                without limitation, Pledgor's rights to [v]ote . . .". [DJV] succeeded
                to all, 100%, of the Pledgor's [i.e., Gouletas and RCI's] interest.

 (Px T p. 6)

        In his other affirmative defense pertaining to Count Three, Gouletas argued that Plaintiff

 has "unclean hands" because "Plaintiff has pursued its claims in this Court and in the Circuit

 Court of Cook County with the knowledge that it did not have authority to do so." (Ans. p. 15

 ¶3) As discussed above, Plaintiff has the authority to pursue with its claims herein and had the

 authority to pursue its claims in the Circuit Court. (See S/F nos. 72-74)

        Further, the equitable doctrine of unclean hands is not available as an affirmative defense

 to a debtor in an action for denial of discharge under §727(a). See Giant Eagle, Inc. v. Monus (In




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 re Monus), 176 Fed. Appx. 494, 496 (6th Cir. 2006); Carroll v. Prosser (In re Prosser), 2012

 Bankr. LEXIS 5872, *57-63 (Bankr. V.I. Dec. 20, 2012). Indeed,

                unlike an inquiry under a dischargeability proceeding under §523,
                which seeks to vindicate only a single creditor's debt, the inquiry in
                a proceeding under §727(a) is directed toward protecting the
                integrity of the bankruptcy system by denying discharge to debtors
                who engage in objectionable conduct that is of a magnitude and
                effect broader and more pervasive than a fraud on a single creditor.

 Giant Eagle, 167 Fed. Appx. at 496 (approving holding by Bankruptcy Appellate Panel).

        And in any event, there is no evidence to support Gouletas' affirmative defense of

 unclean hands. (S/F no. 76) During his deposition herein, Gouletas admitted that he has "no idea"

 whether Plaintiff has unclean hands (S/F no. 76), and has "no idea" of any facts to support a

 claim that Plaintiff has unclean hands. (Px J p. 68)

                                               Conclusion

        Based on the foregoing, Plaintiff 800 South Wells Commercial LLC respectfully requests

 that the Court grant summary judgment against Defendant/Debtor Nicholas S. Gouletas as to

 Count Three of Plaintiff's Adversary Complaint, and thereafter enter a final judgment denying

 Gouletas a bankruptcy discharge pursuant to 11 U.S.C. §727(a)(2)(A). A proposed form of order

 is submitted for the Court's consideration.

                                                              Respectfully submitted,

                                                              ARMSTRONG LAW FIRM

        Dated: August 21, 2017.                               By     /s/F. Dean Armstrong
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                                    Certificate of Service

        The undersigned certifies that a true and correct copy of the foregoing pleading was
 served upon all parties receiving CM/ECF noticing on this 21st day of August, 2017.


                                                  /s/F. Dean Armstrong
                                                  F. Dean Armstrong




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